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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA, ; bo gees CLLRS pe
ORDER IDG Ja
v. 20 CR 350 (VB)
; 11 CR 630 (VB)
10 CR 920 (VB)
KYLE ELLISON, ;
Defendant. :
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A status conference in this matter is scheduled for November 18, 2020, at 9:00 am. The
Court expects to conduct the conference in person in the Courthouse.

Per the SDNY COVID-19 Courthouse Entry Program, anyone who appears at any SDNY
courthouse must complete a questionnaire and have his or her temperature taken. The
questionnaire is located on the Court’s website at: https:/Awww.nysd.uscourts.gov/

sites/default/files/2020-07/SDNY%20Screening%20Instructions.pdf. Completing the

 

questionnaire online and ahead of time will save time and effort upon entry. Only those
individuals who meet the entry requirements established by the questionnaire will be permitted

entry. Please contact Chambers if you do not meet the requirements.

Dated: October 16, 2020
White Plains, NY

SO ORDERED:

url

Vincent L. Briccetti
United States District Judge

 
